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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 0:21-md-03015-SINGHAL

   IN RE:                                                                MDL CASE NO.: 3015

   JOHNSON & JOHNSON SUNSCREEN
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION
                                                              /


   THIS DOCUMENT RELATES TO: ALL CASES
                                                              /


   PLAINTIFFS’ MOTION AND MEMORANDUM IN SUPPORT OF FINAL APPROVAL
                      OF CLASS ACTION SETTLEMENT

           Pursuant to Federal Rule of Civil Procedure 23 and the Court’s preliminary approval order

   (Doc. 68), Plaintiffs Katherine Brennan, Michelle Mang, Meredith Serota, Jacob Somers, Lauren

   Harper, Dina Casaliggi, Kelly Granda, Kyra Harrell, Carman Grisham, Heather Rudy, Fredric

   Salter, and Judith Barich on behalf of the putative classes (collectively, “Plaintiffs”), respectfully

   move for entry of a Final Order and Judgment: (1) confirming their appointment as the class

   representatives for the Class; 1 (2) confirming the appointment of Class Counsel; (3) confirming

   and making final the Court’s certification of the Class for settlement purposes only; and

   (4) granting final approval to the Parties’ Settlement and Release.

           This motion is based on the following Memorandum of Points and Authorities; the

   accompanying declaration of attorney Kiley Grombacher; the declarations of the named plaintiffs;

   the declaration of Tiffany Janowicz; Plaintiffs’ pending Motion and Memorandum in Support of


   1
     The Plaintiffs employ certain capitalized words and phrases in this memorandum that are defined
   in Section 2 of the Parties’ Settlement, which is attached to the Declaration of Kiley Grombacher
   (“Grombacher Decl.”) as Exhibit 1.
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   Attorneys’ Fees, Costs, and Service Award (Dkt. No. 78-1) (“Fee Motion”); the declarations of R.

   Jason Richards, Bryan F. Aylstock, David Byrne, Andy Birchfield, Seth Meyer, Kim Channick

   and Alexandria Walsh submitted in support of the Fee Motion and the exhibits attached thereto

   (“Class Counsel Decl.”); the Court’s March 28, 2022 Preliminary Approval Order (Dkt. No. 68);

   other pleadings on file in this matter; any other materials or testimony that may be submitted at

   the final hearing; and any further argument that the Court might allow. The Parties’ proposed

   Settlement is attached as Exhibit 1 to the Declaration of Kiley Grombacher (“Grombacher Decl.”).

           On June 23, 2022, the Court granted Plaintiffs leave to file a memorandum exceeding

   Local Rule 7.1(c)(2)’s twenty (20) page briefing limitation. (Dkt. No. 81).

           Prior to the filing of this motion, the undersigned conferred with counsel for Johnson &

   Johnson Consumer Inc. (hereafter “JJCI”) pursuant to Local Rule 7.1(a)(3) regarding this motion

   and the relief it seeks, and JJCI’s counsel stated their non-opposition to this motion for purposes

   of settlement only. Plaintiffs request oral argument on this motion, should the Court desire it,

   pursuant to Local Rule 7.1(b)(1). It is estimated that oral argument will require no more than one

   hour.




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                      MEMORANDUM OF POINTS AND AUTHORITIES

           The Court granted preliminary approval of the Parties’ Settlement on March 28, 2022

   (Dkt. No. 68), and Plaintiffs now request that this Court grant final approval of the Settlement.

   For the Court’s reference, the agreement is attached as Exhibit 1 to the Declaration of Kiley

   Grombacher (“Grombacher Decl.”).

   I.      INTRODUCTION

           Plaintiffs brought this lawsuit on behalf of themselves and a putative class of consumers

   seeking monetary and injunctive relief for themselves and others who purchased Neutrogena®

   brand Aerosol Products allegedly contaminated and/or adulterated with benzene, a known human

   carcinogen. See generally Serota v. Johnson & Johnson Consumer Inc., No. 21-cv-61103 (S.D.

   Fla.), ECF No. 4, Amend. Compl. The Settlement before this Court, which conservatively values

   more than Eighty Million Dollars ($80,000,000.00), accomplishes both aims. First, the

   Settlement provides the Class a full accounting by (1) ensuring the availability of a full refund

   for aerosol sunscreen products subject to JJCI’s voluntary recall (hereafter “Aerosol Products”) 2

   through January 14, 2022 and (2) providing a voucher equal to the average retail selling price of

   certain Non-Aerosol Products 3 which may be used toward the purchase of any Neutrogena or

   Aveeno product(s).

           Second, the Settlement offers significant injunctive relief requiring JJCI to direct its

   external manufacturer to (1) purge any existing inventory of isobutane intended for the use in



   2
     The aerosol Aerosol Products impacted by the recall were: (1) NEUTROGENA® Beach
   Defense® aerosol sunscreen; (2) NEUTROGENA® Cool Dry Sport aerosol sunscreen; (3)
   NEUTROGENA® Invisible Daily™ defense aerosol sunscreen; (4) NEUTROGENA® Ultra
   Sheer® aerosol sunscreen, and (5) AVEENO® Protect + Refresh aerosol sunscreen.
   3
     The three (3) Non-Aerosol Products encompassed within the Settlement are: Neutrogena® Ultra
   Sheer® Dry-Touch Water Resistant Sunscreen, Neutrogena® Sheer Zinc™ Dry-Touch Face
   Sunscreen, and Aveeno® Baby Continuous Protection® Sensitive Skin Sunscreen Lotion.
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   Aerosol Products; (2) adopt new testing protocols requiring any supplier of isobutane raw

   material intended for use in Aerosol Products to test for the presence of benzene at no more than

   1 part per million (“PPM”) and refrain from shipping such raw material unless the shipment has

   passed such test; and (3) engage an independent, ISO-certified laboratory to test random samples

   from at least 25% of manufacturing lots of finished goods Aerosol Products for the presence of

   benzene, and to withhold release of such finished goods from such lots unless all samples have

   passed the test. Class Counsel has verified that all such protocols have been implemented and

   complied with.

           While the claims period has not yet expired (but will by the time of the final approval

   hearing), the response of Class Members to the settlement thus far has been almost universally

   supportive. There have been no objections and only two (2) requests for exclusions have been

   received. (Declaration of Jason Rabe (“Rabe Decl.”) at ¶¶ 14, 15.) At the same time, the

   Settlement Administrator has already received more than 172,611 claims resulting in a claims

   rate on par with, if not exceeding, that achieved in consumer class action settlements previously

   approved in this Circuit. The overwhelmingly positive response to the Settlement (in terms of

   the high participation, low opt-out and non-existent class member objection rates) is not

   surprising. As detailed below, the Settlement provides significant relief for the Settlement Class

   and fulfills the dual purposes of the consumer protection laws: providing equitable relief in the

   form of manufacturing changes on a go-forward basis, as well as providing monetary relief to

   the Settlement Class through cash payments and vouchers. The favorable reaction of the Class

   is, in other words, likely due to the extraordinary result achieved here, as it is “a rare class action

   settlement which provides complete relief for all alleged harms,” Begley v. Ocwen Loan Serv.,

   LLC, No. 3:16-cv-149, 2017 WL 11672899, at *4 (N.D. Fla. Nov. 22, 2017), and does so for a



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   “cost” of less than half of what normally is awarded (in terms of attorneys’ fees, costs and

   representative awards, though all these costs are being paid separately here) in similar litigation. 4

   In all respects the Settlement is fair, adequate and reasonable, and readily meets the standard for

   final approval.

       II.    BACKGROUND OF EVENTS PRECIPITATING THIS LITIGATION

             On May 25, 2021, Valisure, an independent third-party laboratory, filed a Citizen Petition

   with the U.S. Food and Drug Administration (“FDA”) wherein Valisure reported it had tested

   numerous lots of aerosol and lotion Aerosol Products from various manufacturers and discovered

   that many of them, including certain JJCI aerosol sunscreens, contained benzene. 5 JJCI, which

   had previously been unaware of the presence of benzene as a contaminant in its sunscreen

   production, immediately began a comprehensive investigation. The investigation confirmed the

   presence of benzene in some of its aerosol Aerosol Products and determined that the isobutane

   used as a propellant in those aerosol product lines was the root- cause of such contamination.

             Thereafter, on July 14, 2021, JJCI instituted a nationwide voluntary recall from all

   distribution channels of five product lines of aerosol Aerosol Products that had been found to

   contain benzene, and instructed consumers in possession of such Aerosol Products to stop using

   the products. JJCI’s lotions, sticks, face mist sunscreens, and sunless tanning products were

   not impacted by the voluntary recall. On the same day JJCI instituted its recall, it announced

   it would offer full cash refunds for the affected products, and established a process for claimants

   to obtain such refunds. That refund program, which is discussed in detail below, has since



   4
     While Plaintiffs’ Fee Motion had estimated that the percentage sought would be less than 30%,
   it is now clear that the percentage is approximately a mere 3% of the fund’s value.
   5
      Neither JJCI’s testing nor the testing conducted by Element (formerly Avomeen), an
   independent testing laboratory retained by Class Counsel, detected the presence of benzene in
   samples of non-aerosol products.
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   concluded.

           Over the course of this litigation, JJCI has fully cooperated with the Plaintiffs in their

   effort to identify and investigate the benzene contamination issue; in identifying the number of

   lots potentially affected by contamination issue; and in developing a plan to remediate any

   potential benzene contamination in the Aerosol Products in the future. (Grombacher Decl. ¶ 9.)

   III.     PROCEDURAL BACKGROUND

            A.     Overview of the Filings & Claims of the Litigation

           Plaintiff Serota initially commenced her action in this Court on May 25, 2021. See

   generally Compl., ECF No. 1. Serota’s case is the first filed of all cases seeking class relief

   arising out of the presence of benzene in JJCI’s Aerosol Products. Plaintiffs’ operative

   complaint—the First Amended Class Action Complaint, ECF No. 4—asserts claims on behalf

   of the named plaintiffs and a putative class of consumers for violations of various states’

   consumer protection and/or deceptive and unfair trade practices acts, unjust enrichment,

   negligent misrepresentation/omission, breach of express and implied warranties, strict product

   liability-failure to warn, and strict product liability-manufacturing defect. See generally Serota

   v. Johnson & Johnson Consumer Inc., No. 21-cv-61103 (S.D. Fla.), ECF No. 4, First Am.

   Compl. ¶¶ 38-237. The relief sought under all of these claims is compensatory and injunctive in

   nature. Plaintiffs seek, inter alia, an award of compensatory damages, interest, and attorneys’

   fees and costs, as well as injunctive relief to prevent JJCI from continuing to market and sell

   Aerosol Products that may be contaminated with benzene. Id. at ¶¶ 1, 36, 52.

           On May 26, 2021, Katherine Brennan and Michelle Mang, California residents, filed a

   lawsuit in the Superior Court for the State of California, County of Ventura, which was

   subsequently removed by JJCI to the United States District Court for the Northern District of


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   California, seeking to represent a putative California-only class. See Brennan v. Johnson &

   Johnson Consumer Inc., 21-cv-5419 (N.D. Cal.) (the “Brennan Action”), ECF No. 1. The

   Brennan Plaintiffs alleged that certain JJCI Aerosol Products sold in California were

   contaminated with benzene and sought injunctive relief and compensation for alleged economic

   losses sustained by California consumers. The Brennan action was the second-filed class action.

            Following the Serota and Brennan filings, fourteen additional litigations were filed

   throughout the country. On July 29, 2021, Plaintiffs in one such action, Jimenez v. JJCI

   (“Jimenez Action”), filed a motion for consolidation before the Joint Panel on Multidistrict

   Litigation (“JPML”), advocating for consolidation in the District of New Jersey. See ECF Doc.

   5 (Motion of Jimenez Plaintiffs for Transfer of Actions to the District of New Jersey Pursuant to

   28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings). Ultimately, the JPML

   consolidated the cases before this Court. ECF No. 1, at 2.

            On February 9, 2022, this Court appointed Aylstock, Witkin, Kreis & Overholtz, PLLC;

   Bradley/Grombacher, LLP; Beasley, Allen, Crow, Methvin, Portis & Miles, PC; Keller Lenkner

   LLC; 6 and Walsh Law, PLLC as Interim Class Counsel. (Dkt. No. 64).

             B.     Summary of Settlement Negotiations and Mediation

            After filing of the Serota and Brennan complaints, Class Counsel began settlement

   discussions with JJCI. After a preliminary exchange of information and several rounds of

   bilateral discussion, the Parties agreed to jointly retain former United States District Court Judge

   John C. Lifland as a mediator in an attempt to reach a nationwide resolution. (Grombacher Decl.

   ¶ 11.) Mediation statements were prepared by both Parties and submitted prior to mediation. (Id

   at ¶12.) The mediation session took place on September 8, 2021, wherein the Parties discussed



   6
       Keller Lenkner LLC has since been renamed Keller Postman LLC.
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   and evaluated the claims, damages, allegations and defenses, and were able to agree in principle

   on a general framework for global settlement, including with respect to retailer defendant Costco

   Wholesale Corporation (“Costco”). 7 Id.

           The Parties agreed to continue negotiations after the mediation to finalize the specific

   settlement terms, and for several weeks thereafter Class Counsel and JJCI’s counsel did so. Id at

   ¶13. During this process, Class Counsel also retained experienced experts and consultants to

   evaluate JJCI’s factual representations. Id at ¶ 14. Ultimately, the Parties were able to reach an

   agreement in principle to settle the litigation on a class-wide basis. Id at ¶15. The agreement in

   principle was memorialized on October 21, 2021 via a confidential term sheet. Id. A notice of

   settlement was then filed with the Court on October 29, 2021. See ECF No. 25.

           Before and during these settlement discussions and mediation, as described above, the

   Parties had an arm’s-length exchange of information sufficient to permit both Parties and their

   counsel to evaluate the claims and potential defenses and to meaningfully conduct informed

   settlement discussions. Id at ¶17.

            C.     Investigation and Informal Discovery

           Although information was exchanged in advance of mediation, Class Counsel

   specifically negotiated for additional disclosures of data, documents and information to confirm

   JJCI’s factual representations. Following execution of the Confidential Term Sheet, the Parties

   began drafting the necessary documentation to allow for this disclosure of documents and

   information. Class Counsel initially drafted and provided JJCI with a list of documents and data

   they requested be provided, which was subsequently negotiated by the Parties and revised. Id at




   7
    Costco is named as a defendant in one of the Actions pending before this Court. See
   McLaughlin v. Johnson & Johnson Consumer, Inc., No. 21-cv-62190 (S.D. Fla.).
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   ¶25. Following an agreement on the initial voluntary disclosures to be provided, the Parties

   negotiated a non-disclosure agreement, which was executed on November 20, 2021. Id at ¶26.

   On November 30, 2021, JJCI began its voluntarily disclosure of data, information and sworn

   statements by company employees. Id at ¶27.

           Over the course of the Parties’ negotiations, JJCI voluntarily produced information by

   which Plaintiffs were able to further assess the merits of the claims and defenses, as well as

   confirm JJCI’s factual representations. Id at ¶28. The material produced included information

   regarding JJCI’s notice of benzene contamination, communications between JJCI and its

   affiliates concerning benzene contamination; information regarding studies and analysis

   performed by JJCI with respect to benzene contamination; JJCI’s communications with FDA

   regarding the contamination; information about JJCI’s sunscreen manufacturers and raw

   material suppliers; and information on JJCI’s refund program, including procedures and

   protocols for processing refunds, criteria for payment, number of claims made, refund amounts

   paid, consumer complaints made, and consumer communications. Grombacher Decl. ¶ 29.

           These voluntary exchanges of information were coupled with Plaintiffs’ independent

   investigation regarding their claims and JJCI’s defenses. Id at ¶30. Such investigation included

   the testing of products using an independent third-party laboratory, consultations with experts in

   the fields of chemistry, cosmetics, and toxicology, and informal surveys of Class Members

   regarding issues such as the sufficiency of JJCI’s voluntary recall and refund program. Id at

   ¶¶21-23. Thereafter, JJCI and Class Counsel jointly drafted the Class Action Settlement

   Agreement that memorializes and governs the Settlement. Id. at ¶31.




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            D.     Preliminary Approval

           On December 17, 2021, the Parties executed the Class Action Settlement Agreement and,

   the same day, Plaintiffs filed a motion for preliminary approval of the proposed Settlement. The

   Court conducted a preliminary fairness hearing on February 17, 2022, and entered an order on

   March 28, 2022 granting preliminary approval of the proposed Settlement. The order also

   directed the nationwide class Notice Plan (defined below) to commence, and set the final

   approval hearing for August 12, 2022, at 2:00 p.m. (Dkt. No. 68).

           E.     Post-Approval Confirmatory Discovery

           Following preliminary approval, Plaintiffs conducted depositions of two JJCI employees

   who were instrumental players in JJCI’S response to the purported benzene contamination. Id at

   ¶32. Carla Oliviera, Regional Leader for the North American Consumer Care Center (who

   headed the consumer-facing aspects of JJCI’s recall and refund program), and Derek Henderson,

   Head of Global Franchise Quality at JJCI, were both subject to in-person depositions. Id. Mr.

   Henderson was responsible for JJCI’s root-cause investigation and had knowledge regarding the

   company’s testing, investigation, suppliers and FDA interactions. Id.

           Additionally, in accordance with the terms of the Settlement, JJCI made an additional

   documentary production which included documents and data related to material specifications

   and testing. Id at ¶33. Finally, all documents produced by JJCI to Class Counsel in the course of

   the settlement negotiations/investigation as well as deposition transcripts, have been provided to

   all other plaintiffs’ counsel who requested copies of such materials and executed the

   corresponding Acknowledgment and Agreement to be Bound by the Stipulated Protective Order.

   Id at ¶34.; Dkt. Nos. 71, 75.

           F.     JJCI’s Monetary Refund Program Has Resulted in Full Refund Payments
                  Collectively Totaling in Excess of Nine Million Dollars

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           Through due diligence, confirmatory depositions, and voluntary informal disclosures, the

   Plaintiffs have confirmed that, as a result of JJCI’s cash refund program, 326,480 claimants have

   received refund checks in the amount of, on average, of $29.73. 8 Grombacher Decl. at ¶ 45. In

   total, JJCI has paid consumers Nine Million Five Hundred Twenty-Eight Thousand Two

   Hundred Seven Dollars and Sixty-Two Cents ($9,528,207.62). Id. at ¶ 47.

           G.    JJCI Has Complied with Each Provision of the Settlement Related to Non-
                 Monetary Relief
           Through confirmatory depositions and review of data and documents produced, Plaintiffs

   have confirmed that JJCI:

           (1) Directed its external manufacturer to purge any existing inventory of isobutane;

           (2) Adopted new specifications applicable to any supplier of isobutane raw material for

                 use in its aerosol Aerosol Products, that requires such raw material to contain not

                 more than one (1) part per million (PPM) benzene;

           (3) Directed its external manufacturer to require that, prior to dispatching any shipment

                 of isobutane raw material intended for use in aerosol Aerosol Products, the raw

                 material supplier test for the presence of benzene at one (1) PPM or more in such raw

                 material, and to refrain from shipping such raw material to JJCI’s external

                 manufacturer unless the shipment has passed such test;

           (4) Required JJCI’s external manufacturer to test for the presence of benzene at one (1)

                 PPM or more in such raw material, and to refrain from use of such raw material unless




   8
     JJCI calculated the refund based upon either: (1) the price actually paid by the consumer for
   the product if such evidence was submitted by the claimant; or (2) the manufacturer’s suggested
   retail price (“MSRP”) of the aerosol product for which a refund was claimed. This ensured that
   Class Members received a refund of at least the full purchase price paid for the product, if not
   more.
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                 it has passed such test; and

           (5) Required JJCI’s external manufacturer to test at least 25% of finished goods aerosol

                 Aerosol Products for the presence of benzene, and to refrain from release of such

                 finished goods unless all such samples have passed such test.

           In total, the injunctive provisions of the settlement caused an estimated financial impact

   to JJCI of more than Eighty Million Dollars. Grombacher Decl. at ¶48.

   IV.      SYNOPSIS OF THE SETTLEMENT TERMS

           The Settlement resolves all claims of the Plaintiffs and the Class against JJCI related to

   the presence of benzene in the Aerosol Products, excluding claims for bodily injuries. The details

   are contained in the Class Action Settlement Agreement. See generally Exhibit 1 to Grombacher

   Decl. The primary terms of the Settlement are described below.

   A.      The Class

           The Class is comprised of all consumers who purchased Neutrogena and/or Aveeno

   sunscreen products at issue in this litigation, and is defined as:

           All persons and entities in the United States who, at any time between May 26,
           2015 and the Notice Date purchased one or more of the Aerosol Products or Non-
           Aerosol Products defined herein for personal, family, or household use and not
           for resale:
           Neutrogena/Aveeno Aerosol Products: Neutrogena® Beach Defense® aerosol
           sunscreen, Neutrogena® Cool Dry Sport aerosol sunscreen, Neutrogena®
           Invisible Daily™ defense aerosol sunscreen, Neutrogena® Ultra Sheer® aerosol
           sunscreen, and Aveeno® Protect + Refresh aerosol sunscreen.
           Neutrogena/Aveeno Non-Aerosol Products: Neutrogena® Ultra Sheer® Dry-
           Touch Water Resistant Sunscreen, Neutrogena® Sheer Zinc™ Dry-Touch Face
           Sunscreen, and Aveeno® Baby Continuous Protection® Sensitive Skin Sunscreen



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            Lotion. 9


   Settlement ¶ 11. Excluded from the Class are (a) all persons who are employees, directors,

   officers, and agents of JJCI, or its subsidiaries and affiliated companies; (b) persons or entities

   who purchased the Products primarily for the purposes of resale to consumers or other resellers;

   (c) governmental entities; (d) persons or entities who timely and properly exclude themselves

   from the Class as provided in this Settlement; and (e) the Court, the Court’s immediate family,

   and Court staff. Id.

   B.       Right to Opt-Out of Participation

            The Settlement allows any Class Member to opt-out of the Settlement and the Class. Any

   Class Member who wishes to seek exclusion from the Class has been advised of his or her

   right to be excluded, and of the deadline and procedures for exercising that right. Settlement

   ¶¶ 56, 76, 106.

   C.       Release

            In exchange for the relief described above, and upon entry of a Final Order and Judgment

   approving the Settlement, the Plaintiffs and the Class will release JJCI, Costco and their related

   and affiliated entities (the “Released Parties,” as further defined in Paragraph 34 of the

   Settlement) from, inter alia, all claims (excluding claims for bodily injuries) for injunctive relief

   or economic loss arising out of or relating to the facts, activities, or circumstances alleged in the

   Action (as defined in Paragraph 1 of the Settlement). Settlement ¶¶ 68-71. In other words, the

   Settlement contemplates a release specific to the subject matter addressed in this action, and does




   9
       The Neutrogena and Aveeno products referenced in this class definition encompass the entire
   product lines of sunscreen products impacted by this Settlement.

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   not contemplate a general release of any and all claims of any kind against JJCI.

   D.      Incentive Awards to Named Plaintiffs

           Under the Settlement, Class Counsel have reserved the right to seek reasonable Incentive

   Awards to named Plaintiffs Katherine Brennan, Michelle Mang, Meredith Serota, Jacob Somers,

   Lauren Harper, Dina Casaliggi, Kelly Granda, Kyra Harrell, Carman Grisham, Heather Rudy,

   Fredric Salter, and Judith Barich in the amount of $250 each, for a total of $3,000, for their

   services as the representatives of the Class. Settlement ¶ 59. The Incentive Awards would be

   paid separately by JJCI from the relief being offered to the Class Members, and would be in

   addition to any relief the Plaintiffs may receive in the refund and/or voucher programs. Id. at

   ¶ 61.

           The Incentive Awards are intended to recognize the time and effort expended by the

   Plaintiffs on behalf of the Class in assisting Class Counsel with the prosecution of this case

   and negotiating the relief the Settlement proposes to confer to the Class Members, as well as the

   exposure and risk the Plaintiffs incurred by participating and taking a leadership role in this

   litigation. Id. at ¶ 59; see also Sawyer v. Intermex Wire Transfer, LLC, No. 19-cv-22212, 2020

   WL 5259094, at *2 (S.D. Fla. Sept. 3, 2020) (noting “there is ample precedent for awarding

   incentive compensation to class representatives at the conclusion of a successful class action.”)

   (quoting Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218 (S.D. Fla. 2006)).

   Accord 2 JOSEPH M. MCLAUGHLIN, MCLAUGHLIN ON CLASS ACTIONS: LAW AND

   PRACTICE § 6:28 at 197 (10th ed. 2013) (“[T]here is near-universal recognition that it is

   appropriate for the court to approve an incentive award payable from the class recovery, usually

   within the range of $1,000 - $20,000.”). Plaintiffs are cognizant of the Eleventh Circuit’s opinion

   in Johnson v. NPAS Sols., LLC, 975 F.3d 1244 (11th Cir. 2020) and, while Plaintiffs are hopeful


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   that the petition for rehearing en banc will be granted, 10 the Settlement is not conditioned upon

   any Incentive Award being approved by the Court. Settlement ¶ 59.

   E.      Attorneys’ Fees and Expenses

           Under the Settlement, Class Counsel have also reserved the right to petition the Court for

   an award of reasonable attorneys’ fees of up to $2,500,000 and reimbursement of costs and

   expenses incurred in the prosecution of this case up to $100,000. Settlement at ¶ 63. The

   Attorneys’ Fees and Expenses provision was separately and independently negotiated by the

   Parties apart from the class settlement provisions, in an arm’s-length negotiation. Any such

   Attorneys’ Fees and Expenses award would be paid separately by JJCI from the relief being

   offered to the Class Members. The Settlement is not conditioned upon any Attorneys’ Fees and

   Expenses award being approved by the Court. Id.

   V.      THE PARTIES AND THE THIRD-PARTY ADMINISTRATOR HAVE
           DUTIFULLY COMPLIED WITH THE NOTICE PROCESS APPROVED BY
           THE COURT

           The Court-approved Notice Plan 11 was designed to reach the greatest practicable number

   of Class Members; provide Class Members opportunities to learn about the Settlement and act

   upon their rights; and ensure that they will be exposed to, see, review, and understand the notices.

   To achieve this goal, a notification program was designed and implemented that included print,

   digital, and social media advertising and a national press release. The Notice Plan also included

   notices designed to meet due process requirements.




   10
      Based on Class Counsel’s research, as of this filing the petition for rehearing en banc in
   Johnson remains pending.
   11
      As noted by the Court: “The Court approves, as to form, content, and distribution, the Notice
   Plan set forth in the Settlement . . . and finds that such Notice is the best notice practicable under
   the circumstances, and that the Notice complies fully with the requirements of the Federal Rules
   of Civil Procedure.” (Dkt. No. 68 at 5).
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            A.     Paid Media Notice

           A paid media program was implemented using print, digital, and social media. The

   publication notice provided important information regarding the subject of the litigation, the

   Class definition, and the legal rights available to Class Members, and directed readers to the

   Settlement Website to find more information. The publication notice appeared as a half-page ad

   in People.

           In addition, the Notice Plan included digital advertising to provide potential Class

   Members with additional notice opportunities beyond the print placement. Digital

   advertisements were designed to alert potential Class Members to the Settlement. The simple

   message enabled potential Class Members to quickly determine if they might be affected by the

   Settlement. When visitors clicked on the advertisement, they were sent directly to the Settlement

   Website.

           Digital advertisements (i.e. banner and social media ads) appeared between April 8, 2022,

   and May 19, 2022 on the following networks: Google Display Network, Facebook, Instagram,

   and Conversant. The advertisements ran across the networks and delivered 36,637,972 total

   gross impressions. 12 Targeted digital advertising appeared on Conversant to reach potential Class

   Members who previously purchased Aveeno or Neutrogena sunscreen.

            B.     Earned Media

           The Notice Plan included a press release to supplement the paid media program. The

   press release was distributed on PR Newswire’s US1 national wire on April 8, 2022. The release

   generated 360 postings of the full text of the release and received 4,801 views, 670 click-


   12
     The phrase “gross impressions” are the total number of times a digital ad appeared online.
   This figure does not represent the total number of unique viewers of the ad, as some viewers
   will see the ad on more than one website.
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   throughs, and two shares. A total of 48 journalists viewed the press release. Information about

   the Settlement appeared in media outlets, such as MarketWatch, Markets Insider, and Benzinga.

   The press release included a message that highlighted the Settlement details, provided

   information for potential Class Members, and featured the toll-free telephone number and

   Settlement Website address.

            C.     Rust Published and Maintained a Settlement Website

           On April 7, 2022, Rust Consulting (“Rust”), the Settlement Administrator selected by the

   Parties and approved by the Court (see Dkt. No. 68 at 5), established the Settlement Website at

   www.SunProductSettlement.com to enable Class Members to obtain and download information

   about the Settlement. The Settlement Website includes the Long Form Notice, the Claim Form,

   frequently asked questions, the Settlement, and other court documents from this action. Class

   members are able to download materials and the Claim Form and file a claim online. As of June

   15, 2022, the website has had 398,973 unique visitors.

            D.     Rust Established A Toll-Free Number and Post Office Box

           On April 7, 2022, Rust established a toll-free phone number to allow Class Members to

   listen to answers to frequently asked questions. As of June 15, 2022, Rust received 234 calls to

   the toll-free number. On March 30, 2022, Rust established a U.S. Mail Post Office Box (P.O.

   Box 2599, Faribault, MN 55021-9599) to allow Class Members to submit requests for exclusion,

   Claim Forms, and correspondence by mail with any specific requests or questions. Mail received

   at the Post Office Box is collected and processed daily. As of June 24, 2022, Rust has received

   172,764 Claim Forms. Of the 172,764 Claim Forms received, 153 were received by mail and

   172,611 were submitted online through the website. The Claim Form deadline is July 7, 2022.

            E.     The Notice Effectively Reached the Class Members


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           Before granting final approval, a court must ensure that reasonable and adequate notice

   was provided to class members. This is because Due Process and Rule 23 require a court to

   “direct notice . . . to all class members who would be bound by the” settlement. FED. R. CIV. P.

   23(e)(1). Such notice must be “the best notice that is practicable under the circumstances,”

   directed individually “to all members who can be identified through reasonable effort.” FED R.

   CIV. P. 23(c)(2)(B).

           The “best notice practicable” requirement of Rule 23 does not require that every class

   member actually receive notice. Juris v. Inamed Corp., 685 F.3d 1294, 1321 (11th Cir. 2012).

   Instead, a notice program is reasonable and adequate if it is the best notice practicable, and

   affords notice to the substantial majority of the putative class members. Minter v. Wells Fargo

   Bank, N.A., 283 F.R.D. 268, 276 (D. Md. 2012) (Rule 23’s notice requirements satisfied where

   individual notice reaches “the vast majority of potential class members”); accord 2 JOSEPH M.

   MCLAUGHLIN, MCLAUGHLIN ON CLASS ACTIONS: LAW AND PRACTICE § 6:17 at

   129-30 (10th ed. 2013). Further, in determining the sufficiency of class notice, courts “look

   solely to the language of the notices and the manner of their distribution,” U.S. v. Alabama, 271

   F. App’x at 901, and the notice “need not include every material fact or be overly detailed,”

   Faught v. Am. Home Shield Corp., 668 F.3d 1233, 1239 (11th Cir. 2011).

           Here, this Court approved the Notice Plan set forth in the Settlement, which called for

   notice mailed directly to Class members, publication notice, and internet notice (“Notice Plan”).

   The Court-approved Notice Plan also specified the content of the notices, which use simple,

   plain language to encourage readership and comprehension. (Rabe Decl. Exs. B-E.) In approving

   the Notice Plan, this Court expressly found that it “is the best notice practicable under the

   circumstances, and that the Notice complies fully with the requirements of the Federal Rules of

   Civil Procedure … and meets the requirements of Due Process.” (Dkt. 68 at 9.) “The Court

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   further f[ound] that the Notice is rationally and sensibly calculated to, under all circumstances,

   reasonably apprise members of the Class of the pendency of this Action, the terms of the

   Settlement, and the right to object to the Settlement and to exclude themselves from the Class.”

   Id. This Court then appointed Rust as Settlement Administrator and ordered it to effectuate the

   Notice Plan. Id..


           Moreover, the notice program reached more than a mere majority—the program achieved

   a reach 13 rate of 75%. Reach rates of between 70% and 95% are considered reasonable and

   adequate. See Federal Judicial Center, Judges’ Class Action Notice and Claims Process Checklist

   and Plain Language Guide at 3 (3d ed. 2010), https://www.fjc.gov/content/judges-class-action-

   notice-and-claimsprocess-checklist-and-plain-language-guide-0) (“It is reasonable to reach

   between 70–95%” on class notice) (available at https://www.fjc.gov/content/judges-class-

   action-notice-and-claimsprocess-checklist-and-plain-language-guide-0); Perks v. Activehours,

   Inc., 2021 WL 1146038, at *2 (N.D. Cal. Mar. 25, 2021) (citing Federal Judicial Center for same

   proposition). Moreover, no Class Member has objected to the sufficiency of the Notice Plan.

   VI.     THE SETTLEMENT CLASS HAS RESPONDED FAVORABLY TO THE
           SETTLEMENT


           Although the claims, objection and exclusion period has not yet expired, the Class has

   already responded favorably to the settlement preliminarily approved by this Court. 14 There have

   been no objections to the settlement received thus far and only two (2) Class Members have

   requested exclusion. (Rabe Decl. at ¶¶14, 15.)



   13
      The term “reach” is the estimated percentage of a target audience reached through a specific
   media vehicle or combination of media vehicles.
   14
      The deadline for the submission of claim forms, objections and requests for exclusion is July
   7, 2022. (Rabe Decl. ¶¶13-15.)
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           At filing, One Hundred Seventy-Two Thousand Six Hundred and Eleven (172,611)

   Claim Forms have been submitted. (Id. at ¶13.) Plaintiffs’ expert has estimated that this reflects

   a claims rate just shy of three percent (3%). (Grombacher Decl. ¶52.)

   VII. FINAL APPROVAL OF THE SETTLEMENT IS WARRANTED

            A.      Standards for Final Approval

           No class action may be settled without court approval. See FED R. CIV. P. 23(e). The

   decision of whether to approve or reject a settlement “is left to the sound discretion of the trial

   court.” Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984). As a matter of public

   policy, courts favor settlements of class actions for their earlier resolution of complex claims and

   issues, which promotes the efficient use of judicial and private resources. Id.; see also Jairam v.

   Colourpop Cosmetics, LLC, No. 19-cv-62438, 2020 WL 5848620 at *3 (S.D. Fla. Oct. 1, 2020)

   (“Federal courts have long recognized a strong policy and presumption in favor of class action

   settlements.”). The policy favoring settlement is especially relevant in class actions and other

   complex matters, where the inherent costs, delays and risks of continued litigation might

   otherwise overwhelm any potential benefit the class could hope to obtain. See, e.g., Ass’n for

   Disabled Americans, Inc. v. Amoco Oil Co., 211 F.R.D. 457, 466 (S.D. Fla. 2002) (“There is an

   overriding public interest in favor of settlement, particularly in class actions that have the well-

   deserved reputation as being most complex.”) (citing Cotton v. Hinton, 559 F.2d 1326, 1331 (5th

   Cir. 1977)); see also 4 Newberg on Class Actions § 11.41 (4th ed. 2002) (citing cases).

           In evaluating a proposed class action settlement, the Court “will not substitute its business

   judgment for that of the parties; ‘the only question . . . is whether the settlement, taken as a whole,

   is so unfair on its face as to preclude judicial approval.’” Torres v. Bank of Am. (In re Checking

   Account), 830 F. Supp. 2d 1330, 1341 (S.D. Fla. 2011) (quoting Rankin v. Rots, 2006 WL


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   1876538, at *3 (E.D. Mich. June 27, 2006); see also Jairam, 2020 WL 5848620 at *3 (explaining

   that “the district court may rely upon the judgment of experienced counsel for the parties[,] . . .

   [and] should be hesitant to substitute its own judgment for that of counsel.”).

           Courts should not convert settlement fairness hearings into trials on the merits or mini-

   trials. See United States v. Ala., 271 F. App’x 896, 902 (11th Cir. 2008) (“[I]t cannot be

   overemphasized that neither the trial court in approving the settlement nor this Court in review

   that approval have the right or the duty to reach any ultimate conclusions on the issues of fact or

   law which underlie the merits of a dispute.”) (quoting Cotton v. Hinton, 559 F.2d 1326, 1330

   (5th Cir. 1977)); In re Smith, 926 F.2d 1027, 1029 (11th Cir. 1991) (“A trial judge ought not try

   the case during a settlement hearing and should be hesitant to substitute his or her own judgment

   for that of counsel.”). Instead, “[t]he court’s intrusion upon what is otherwise a private

   consensual agreement negotiated between the parties to a lawsuit must be limited to the extent

   necessary to reach a reasoned judgment that the agreement is not the product of fraud or

   overreaching by, or collusion between, the negotiating parties, and that the settlement, taken as

   a whole, is fair, reasonable and adequate to all concerned.” Borcea v. Carnival Corp., 238 F.R.D.

   664, 675 (S.D. Fla. 2006) (quoting Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625

   (9th Cir. 1982)). After all, the very purpose of a settlement is to avoid the need to determine

   sharply contested issues and to dispense with wasteful and expensive litigation and discovery.

   Carson v. Am. Brands, Inc., 450 U.S. 79, 88 n.14 (1981) (in considering whether to approve a

   class settlement, courts “do not decide the merits of the case or resolve unsettled legal

   questions.”).

           Under Rule 23(e)(1), this Court should approve the class-action settlement if it is fair,

   reasonable and adequate, and not the product of collusion. Fresco v. Auto Data Direct, Inc., No.



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   03-cv-61063, 2007 WL 2330895, at *4 (S.D. Fla. May 14, 2007). Leverso v. Southtrust Bank,

   18 F.3d 1527, 1530 (11th Cir. 1994); see also Bennett v. Behring Corp., 737 F.2d 982, 986 (11th

   Cir. 1984) (same); Jairam, 2020 WL 5848620 at *5 (same). A settlement is fair, reasonable, and

   adequate when “the interests of the class as a whole are better served if the litigation is resolved

   by the settlement rather than pursued.” Jairam, 2020 WL 5848620 at *5 (quoting In re

   Lorazepam & Clorazepate Antitrust Litig., MDL No. 1290, 2003 WL 22037741, at *2 (D.D.C.

   June 16, 2003) (quoting MANUAL FOR COMPLEX LITIGATION (THIRD) § 30.42 (1995)).

           The Eleventh Circuit has identified six factors to be considered in analyzing the fairness,

   reasonableness and adequacy of a class settlement under Rule 23(e):

           (1) the existence of fraud or collusion behind the settlement;

           (2) the complexity, expense, and likely duration of the litigation;

           (3) the stage of the proceedings and the amount of discovery completed;

           (4) the probability of the plaintiffs’ success on the merits;

           (5) the range of possible recovery; and

           (6) the opinions of the class counsel, class representatives, and the substance and amount

           of opposition to the settlement.

   Leverso, 18 F.3d at 1530 n.6; see also Bennett, 737 F.2d at 986. The analysis of these factors

   supports the clear conclusion that the Settlement is fair, adequate, and reasonable.

   B.      The Settlement Satisfies the Standards for Judicial Approval

           1. The Settlement is the Product of Arm’s-Length Bargaining and There was No
              Fraud or Collusion

           There is not, nor could there be, any evidence of fraud or collusion regarding the

   Settlement. Indeed, the Court already found that the Settlement “is the result of arm’s-length

   negotiations between experienced class action attorneys[.]” (Dkt. No. 68 at 2). The record

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   continues to support the Court’s earlier finding.

           The proposed Settlement resulted from intensive, arms’ length negotiations between

   experienced attorneys over the course of an extensive mediation (with JAMS mediator, Hon.

   John C. Lifland (Ret.)) and post-mediation settlement conferences, both by email and telephone,

   that stretched over multiple weeks. Grombacher Decl. at ¶¶ 10-19. The participation of a

   respected neutral like Judge Lifland in the negotiation process should give the Court confidence

   that the negotiations were conducted in an arm’s-length, non-collusive manner. Poertner

   v.Gillette Co., 618 F. App’x 624, 630 (11th Cir. 2015) (objector’s claim of “self-dealing” by

   parties to class settlement “was belied by the record: the parties settled only after engaging in

   extensive arm’s-length negotiations moderated by an experienced, court-appointed mediator.”);

   Faught v. Am. Home Shield Corp., 2:07-CV-1928, 2010 WL 10959223, at *21 (N.D. Ala. Apr.

   27, 2010) (concluding“[s]ettlement [wa]s the product of informed, arm’s-length negotiations”

   because “the negotiations were supervised by a highly experienced mediator . . .”), aff’d, 68

   F.3d1233 (11th Cir. 2011); Perez v. Asurion Corp., 501 F. Supp. 2d 1360, 1384 (S.D. Fla. 2007)

   (concluding that class settlement was not collusive in part because it was overseen by “an

   experienced and well-respected mediator[.]”).

           After the mediation session, the Parties negotiated with one another to flesh out the

   Settlement framework, such as details of the Notice Plan. The parties continued to negotiate and

   exchange confidential business and technical information regarding settlement details and

   examined, in detail, potential approaches to injunctive relief. There is no evidence of a reverse

   auction 15 and attorneys’ fees were not negotiated until after the substantive relief for the Class


   15
      A “reverse auction” is “the practice whereby the defendant in a series of class actions picks
   the most ineffectual class lawyers to negotiate a settlement with in the hope that the district court
   will approve a weak settlement that will preclude other claims against the defendant.” Reynolds
   v. Beneficial Nat. Bank, 288 F.3d 277, 282 (7th Cir. 2002).
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   had been agreed upon. See Lee v. Ocwen Loan Serv., LLC, 2015 WL 5449813, at *12 (S.D. Fla.

   Sept. 14, 2015) (finding “no collusion in the settlement negotiations and the Parties began

   negotiations regarding attorneys’ fees only after finishing negotiating the Settlement itself.”);

   Ingram v. The Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (finding no collusion where

   attorneys’ fees were “negotiated separately from the rest of the settlement, and only after

   substantial components of the class settlement had been resolved.”).

           Indeed, the terms of the Settlement belie collusion. Class Counsel strenuously negotiated

   for terms devoid of any sort of “self-dealing” or “conflict-of-interest” concerns. For example,

   the Settlement offers all Class Members the same form of relief—the opportunity to a monetary

   payment or voucher. Additionally, Class Counsel is not seeking reimbursement of more costs

   than were incurred in the prosecution of the action, and the fee award sought is far below those

   approved in similar settlements in this circuit. Accordingly, neither Plaintiffs nor their counsel

   are disproportionately rewarded in relation to the Settlement Class itself.

           2. The Complexity, Expense and Likely Duration of the Litigation

           If not settled, there exists real potential for years of further litigation, as well as a

   possibility that JJCI could prevail on the merits or defeat contested class certification. JJCI’s

   defenses include the fact that benzene was largely undetectable in the Non-Aerosol Products and,

   thus, consumers in fact received the product as advertised, labeled and bargained for.

   Accordingly, liability was not a foregone conclusion. In addition, because different

   manufacturing lots of the affected products—and different products within those lots—had

   different characteristics and test results, Plaintiffs would have faced challenges in showing that
   all purchasers were adversely impacted by the alleged benzene contamination, and in meeting

   the ascertainability requirement of Rule 23. Moreover, JJCI could assert that benzene is not an

   “ingredient” in any JJCI Aerosol Products (see Settlement at Page 1), so there is no need to label

   benzene as an ingredient on Aerosol Products under applicable regulations. Another potential

   JJCI defense is that applicable product standards, in particular United States Pharmacopeia

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   (“USP”) <467>, arguably set a 2 PPM limit for benzene as a residual solvent in products. Thus,

   JJCI could argue, as other manufacturers of benzene contaminated sunscreen have done, that the

   presence of benzene in Aerosol Products is permitted at levels up to 2 PPM. See, e.g., Bowen v.

   Energizer Holdings, Inc., Central District of California, Case No., 2:21-cv-04356-MWF-AGR,

   ECF Dkts. 50, 58, 62. In other words, JJCI could argue that its Aerosol Products may contain up

   to 2 PPM benzene, without the need to disclose the presence of benzene in its products. JJCI

   could also attempt to invoke standing and/or primary jurisdiction doctrines, thus potentially

   delaying the litigation indefinitely.

           What’s more, both parties retained third-party laboratories to test the Products. Therefore,

   if litigation had continued there would have been a “battle of experts” with an uncertain outcome.

   Damages would have also been highly contested based on the Parties’ laboratory results. In sum,

   continuing this action without a settlement would have involved several major litigation risks,

   including, but not limited to, class certification, a motion for summary judgment, Daubert

   motions, trial, as well as appellate review following a final judgment.

           3. The Stage of the Proceedings and the Amount of Discovery Completed
           When considering this factor, courts will look to “the degree of case development that

   class counsel have accomplished prior to settlement to ensure that counsel had an adequate

   appreciation of the merits of the case before negotiating.” In re Checking Account Overdraft

   Litig., 830 F.Supp.2d 1330, 1348 (S.D. Fla. 2011). This action was settled a few months after

   the first complaints were filed but only after JJCI had withdrawn the Aerosol Products from the

   market and provided relevant discovery which, in turn, permitted Class Counsel to evaluate the

   probability of success on the merits, the relevant defenses, the possible range of recovery, the

   likely expense and duration of the litigation and most importantly, any continuing risk to

   consumers. Class Counsel evaluated thousands of pages of discovery and retained and worked

   with experts to evaluate the merits of the claims and the relief sought. In other words, Class

   Counsel had a clear view of the strengths and weaknesses of the case before agreeing to and

   recommending approval of the Settlement. Accordingly, this factor weights in favor or approval
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   of the Settlement. See Morgan v. Public Storage, 301 F.Supp.3d 1237, 1249 (S.D. Fla. 2016);

   Ressler v. Jacobson, 822 F.Supp.1551, 1554-55 (M.D. Fla. 1992).


           4. The Probability of the Plaintiffs’ Success on the Merits and the Range of Possible
              Recovery in Relation to the Benefits Provided by the Settlement Support
              Approval
           Without a settlement, Plaintiffs and Class Members face a risk of losing on the merits of

   their claims at trial and receiving no relief at all. Plaintiffs’ likelihood of success at trial balanced

   against the amount offered in the settlement is the most important factor relevant to the fairness

   of a class action settlement. Figueroa v. Sharper Image Corp., 517 F. Supp. 2d 1292, 1323-24

   (S.D. Fla. 2007). “In determining whether the Settlement is fair in comparison to the potential

   range of recovery, the Court is guided by ‘the fact that a proposed settlement amounts to only a

   fraction of the potential recovery does not mean the settlement is unfair or inadequate.’” Jairam,

   2020 WL 5848620 at *6 (quoting Behrens v. Wometco Enters., Inc.,118 F.R.D. 534, 542 (S.D.

   Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990)); Morgan, 301 F. Supp. 3d at 1250 (same). Indeed,

   “settlement can be satisfying even if it amounts to a hundredth or even a thousandth of a single

   percent of the potential recovery.” Behrens, 118 F.R.D. at 542; Morgan, 301 F.Supp.3d at 1250.

   Settlement must be evaluated in light of the attendant risks of litigation, meaning the mere

   possibility that a class might receive more if the case were fully litigated is not a good reason for

   disapproving the settlement. See Jairam, at *6. Since the inception of this litigation, JJCI and

   Costco denied and continue to deny Plaintiffs’ allegations and all charges of wrongdoing or

   liability of any kind. As detailed above, JJCI and Costco had several defenses to both liability

   and certification which posed a threat to recovery for Plaintiffs and Class Members.

           Despite such risks, in purely quantitative terms, the relief provided is unquestionably an

   excellent result for the Class Members. See, e.g., In re Polyurethane Foam Antitrust Litigation,

   2015 WL 1639269, at *5 (N.D. Ohio Feb. 26, 2015) (“A settlement figure that equates to roughly

   18 percent of the best-case-scenario classwide [damages] is an impressive result in view of these

   possible trial outcomes.”); In re Rite Aid Corp. Sec. Litig., 146 F. Supp. 2d 706, 715 (E.D. Pa.

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   2001) (noting that since 1995, class action settlements have typically “recovered between 5.5%

   and 6.2% of the class members’ estimated losses”); Laarni T. Bulan, Ph.D, et al., Securities

   Class Action Settlements – 2016 Review and Analysis 8 (Cornerstone Research 2016)

   (concluding that, from 2006 to 2016, the median settlement amount in securities class actions

   was approximately 2.5% of the class members’ total estimated losses). The Settlement here

   offers a 100% recovery of actual damages for recalled and affected products, a recovery for

   seemingly non-affected products in the form of a voucher that can be used for any Neutrogena

   or Aveeno product (not just sunscreens), and injunctive relief, rendering it “a rare class action

   settlement which provides complete relief for all alleged harms.” Begley. 2017 WL 11672899,

   at *4.
             Although the Plaintiffs are confident that they could successfully overcome JJCI’s

   defenses, if the Court agreed with JJCI on any of its defenses, certification could be denied or

   Class Members could be left with no compensation for non-recalled products, an injunctive

   component that is less robust than what the Settlement provides, or no relief at all. See, e.g., Nat’l

   Rural Telecomm. Coop., 221 F.R.D. at 526 (noting that in the class action settlement context, it

   is “proper to take the bird in hand instead of a prospective flock in the bush.”); Pinto v. Princess

   Cruise Lines, 513 F. Supp. 2d 1334, 1338 (S.D. Fla. 2007) (noting that settlement was approved

   where “the risk of going forward was substantial” despite the court’s belief that the case had

   merit).

            This Settlement is sufficiently within the range of possible final approval to justify its

   preliminary approval. It provides—today, not years from now—real, substantial, and practical

   benefits to the Class Members. This factor, the most important of all the factors, weighs in favor

   of approval of the Settlement.


             5. The Opinions of Class Counsel, Class Representatives, and the Substance and
                Amount of Opposition to the Settlement
             Class Counsel strongly endorse the Settlement. See Declarations of Bryan Aylstock,

   Jason Richards, David Byrne, Seth Meyers, Alexandria Walsh, Kim Channick and Andy

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   Birchfield. The Court should give “great weight to the recommendations of counsel for the

   parties, given their considerable experience in this type of litigation.” Warren v. Tampa, 693 F.

   Supp. 1051,1060 (M.D. Fla. 1988); see also See also Jairam, 2020 WL 5848620 at *3

   (explaining that “the district court may rely upon the judgment of experienced counsel for the

   parties[,] . . . [and] should be hesitant to substitute its own judgment for that of counsel.”);

   Domestic Air Transp. Antitrust Litig, 148 F.R.D. 297, 312-13 (N.D. Ga. 1993) (same).

           Settlement Class members have likewise responded favorably to the settlement. While

   the objection and exclusion periods have not yet lapsed, at present, no objections have been

   received and only two (2) exclusions have been requested. See (Rabe Decl. at ¶ 15). Obviously,

   a low number of objections suggests that a settlement is reasonable, while a high number of

   objections would provide a basis for finding that a settlement was unreasonable. Braynen, et al.

   v. Nationstar Mortgage, LLC, et al., No. 14-cv-20726, 2015 WL 6872519, at *6 (S.D. Fla. Nov.

   9, 2015). The lack of opposition to the Settlement supports the conclusion that the Settlement is

   fair, reasonable, and adequate and deserves final approval. Hall v. Bank of Am., N.A., No. 12-

   cv-22700, 2014 WL 7184039, at *5 (S.D. Fla. Dec. 17, 2014); Hamilton v. SunTrust Mortg. Inc.,

   No. 13-cv-60749, 2014 WL 5419507, at *4 (S.D. Fla. Oct. 24, 2014).

           Moreover, the claims rate is commensurate with other consumer class actions with

   similar publication notice plans. 16 According to a study completed by Kurtzman Carson


   16
      It should be noted however, that the final rate of claims is not necessary to evaluate the
   Settlement’s fairness. A class settlement that offers significant monetary relief, “requiring only
   that class members submit a claim form,” can be “fair and reasonable independent of the number
   of claims filed.” Saccoccio v. JP Morgan Chase Bank, N.A., No. 13-21107-CIV, 2014 WL
   3738013, at *1 (S.D. Fla. July 28, 2014) (“The Court has already rejected Objectors’ argument
   that the Court should have considered the exact number of claims filed before approving the
   Settlement.”); see also Shames v. Hertz Corp., No. 07-2174-CIV, 2012 WL 5392159, at *14
   (S.D. Cal. Nov. 5, 2012) (approving settlement prior to claim deadline because even if the claim
   participation rate were low, it is “otherwise fair and represents a recovery of a substantial
   percentage of actual estimated damages” and a low rate may merely “be the result of a variety
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   Consultants, the median claims rate in consumer class actions is 0.023% and other courts have

   observed that “the expected claims rate in a consumer class action ... is less than 1%.” See

   Poertner v. The Gillette Company, et al., 2014 WL 4162771, at *5 (fn. 9 (M.D. Fla. Aug. 21,

   2014) (granting final approval of settlement following a claims rate of 0.076%). Indeed, courts

   routinely grant approval in consumer class actions to cases with claims rates under 1%. See, e.g.,

   In re Apple iPhone 4 Products Liab. Litig., 2012 WL 3283432, at *1 (N.D. Cal. Aug. 10, 2012)

   (granting final approval to class settlement with a claims rate of 0.28%); Poertner v. The Gillette

   Company, 618 F.App’x 618 (11th Cir. 2015) (affirming approval of settlement where only

   55,346 of 7.26 million class members—less than 1%—filed claims).

           The near “unanimous approval of the proposed settlements by the class members is

   entitled to nearly dispositive weight in this court’s evaluation of the proposed settlements.” In re

   Art Materials Antitrust Litig., MDL No. 436, 100 F.R.D. 367, 372 (N.D. Ohio 1983); see also

   Lipuma v. American Express Co., 406 F. Supp. 2d 1298, 1324 (S.D. Fla. 2005). Here, the “small

   number of objectors from a plaintiff class of many thousands is strong evidence of a settlement’s

   fairness and reasonableness.” Assn. for Disabled Americans. v. Amoco Oil Co., 211 F.R.D. 457,

   467 (S.D. Fla. 2002); accord Mangone v. First USA Bank, 206 F.R.D. 222, 227 (S.D. I11. 2001)

   (“In evaluating the fairness of a class action settlement, such overwhelming support by class

   members is strong circumstantial evidence supporting the fairness of the Settlement.”); Austin v.

   Penn. Dept. of Corrections, 876 F. Supp. 1437, 1458 (E.D. Pa. 1995) (“Because class members

   are presumed to know what is in their best interest, the reaction of the class to the Settlement

   Agreement is an important factor for the court to consider.”). This factor militates in favor or

   approval.


   of factors including procrastination or lack of interest,” which “does not diminish the fairness of
   the settlement”).
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            C.     THE CLASS SHOULD BE FINALLY CERTIFIED

           As the Court previously found in granting Plaintiffs’ motion for preliminary approval,

   for purposes of settlement of this action, all requirements of Rule 23 are met. (Dkt. No. 68 at 4

   (noting “the Class satisfies the requirements of Rule 23 of the Federal Rules of Civil

   Procedure.”)). No new or contrary evidence or information has been brought forward to

   undermine that sound conclusion. Accordingly, in addition to granting final approval, the Court

   should order certification of the Settlement Class for purposes of effectuating the Settlement.

   VIII. CONCLUSION
           For the foregoing reasons, Plaintiffs respectfully request that the Court enter a Final

   Order and Judgment: (1) confirming their appointment as the Class Representatives for the

   Class; (2) confirming the appointment of Class Counsel; (3) confirming and making final the

   Court’s certification of the Settlement Class for settlement purposes only; (4) granting final

   approval to the Parties’ Settlement and Release; and (5) approving the fees and costs sought.

                           LOCAL RULE 7.1(a)(3) CERTIFICATION

           Counsel for Plaintiffs has conferred with Defendants’ counsel and Defendants do not

   oppose the relief requested herein for purposes of settlement only.

   Dated: June 24, 2022

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 24, 2022, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system, which will send a notice of electronic filing to all

   counsel of record.




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